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                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
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11   CHARLENE RENAE M.,                        )     CASE NO. EDCV 19-539-AGR
                                               )
12                            Plaintiff,       )
                                               )     JUDGMENT
13               vs.                           )
                                               )
14   ANDREW SAUL, Commissioner of              )
     Social Security,                          )
15                                             )
                              Defendant.       )
16                                             )
17
18         IT IS HEREBY ADJUDGED that the decision of the Commissioner is reversed,
19   and remanded for reconsideration of the Plaintiff’s residual functional capacity
20   assessment during the period beginning April 25, 2017.
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22
23   DATED: November 9, 2020
                                                      ALICIA G. ROSENBERG
24                                                 United States Magistrate Judge
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